             Case 1:18-cv-11391-VEC Document 76 Filed 10/21/20
                                                           USDCPage
                                                                SDNY1 of 1
                                                                             DOCUMENT
                                                                             ELECTRONICALLY FILED
                                                                             DOC #:
UNITED STATES DISTRICT COURT
                                                                             DATE FILED: 10/21/2020
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
MOHAMMED BOUHAJRAH,                                                    :
                                                                       :
                                    Plaintiff,                         :
                                                                       :
                  -v-                                                  :      18-CV-11391 (VEC)
                                                                       :
HILL DELI GROCERY CORP., AZAAL DELI                                    :           ORDER
GROCERY CORP., ANA DELI GROCERY CORP.,                                 :
AND NASSER ALMASMARY,                                                  :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X
VALERIE CAPRONI, United States District Judge:

         WHEREAS on September 30, 2020, the Court informed the parties they will be given one

month notice in advance of trial, Dkt. 73;

         IT IS HEREBY ORDERED that the bench trial is scheduled to begin on Monday,

December 7, 2020, at 10:00 A.M. The final pre-trial conference is scheduled for Tuesday,

December 1, 2020, at 3:30 P.M.

         IT IS FURTHER ORDERED that a conference to discuss trial logistics is scheduled for this

Friday, October 23, 2020, at 11:30 A.M. All parties and any interested members of the public

must attend by dialing 1-888-363-4749, using the access code 3121171, and the security code 1391.

All attendees are advised to mute their phones when not speaking and to self-identify each time they

speak.



SO ORDERED.

                                                              _________________________________
Date: October 21, 2020                                              VALERIE CAPRONI
      New York, New York                                            United States District Judge
